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ARKADY BUKH
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Attorneys for MAKSIM BOIKO


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


        UNITED STATES OF AMERICA,                    )
                                                     )      Criminal No. 2:20CR00383-001
                             Plaintiff,              )
                                                     )
                             v.                      )
                                                     )
                MAKSIM BOIKO,                        )
                                                     )
                            Defendant.               )

   _________________________________________________________________________

 CERTIFICATION OF ARKADY BUKH IN SUPPORT OF HIS RENEWED MOTION
          TO BE RELIEVED AS COUNSEL FOR MAKSIM BOIKO

               Arkady Bukh., an attorney duly admitted Pro Hac Vice to practice law before this

this court, attorney for Defendant MAKSIM BOIKO, hereby affirms and certify the following to

be true under penalty of perjury:

               1.     I currently represent Defendant MAKSIM BOIKO in the above captioned

matter, District Case Number 2:20CR00383-001. I make this Certification in support of my

renewed motion to be relieved as MAKSIM BOIKO's counsel.
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               2.     As per Court's direction stated during the prior hearing on my motion to

withdraw, dated February 24, 2021, the Court indicated that my office should assist Mr. Boiko

with obtaining a new counsel. Dkt. 55 at 8.

               3.     While the Court denied my prior motion to withdraw without prejudice, it

indicated during that hearing that "Mr. Boiko, you need to start putting in motion action to find

substitute counsel, whatever direction that needs to be. This is not an indefinite period of time.

My focus is to not leave you unrepresented. But it's clear to me that, unless you resolve your

relationship with Mr. Bukh and Mr. Grasso, and it's all over dollars and cents, then I think

you need to do all due haste to obtain subsequent counsel and that should be quickly." Id.

(emphasis added).

               4.     Despite this clear mandate of the Court, Mr. Boiko has failed to make

good faith efforts to obtain a new attorney. Our firm has sent several emails to him with specific

instructions on how to obtain a federal public defender. Exhibit 1. However, he refused to

proceed with a search of a new attorney stating that he would not do that until he receives money

allegedly owned to him by my firm. Id.

               5.     As I indicated in my prior certification in support of my motion to

withdraw, it is Mr. Boiko who breached his obligation to pay for my firm's legal services already

rendered to him.

               6.     Specifically, he failed to provide the firm a second payment in the amount

of $20,000, which was due by June 3, 2020. As of today, Mr. Boiko missed all the subsequent

payments under the retainer, to wit, $20,000 due by August 3, 2020; $20,000 due by October 3,

2020; $20,000 due by December 3, 2020, despite the fact that the firm has demanded those
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payments. He indicates to me that he is not going to pay the agreed-upon sums to the firm and

expects the firm to continue representing him for free.

               7.      As stated in the itemized bill provided to the Court, even on hourly-based

charges, Mr. Boiko owes the firm more than $10,000. It is my position that my firm should not

be forced to continue representing Mr. Boiko pro bono. If he is willing to challenge the

propriety of his legal fees, there is a proper means to do so via either New York or Pennsylvania

Fee Dispute Resolution Program, or a civil lawsuit. As such, the firm should not be taken as a

hostage in this matter of the client's unreasonable claims with respect to the fee dispute.

               8.      In light of the fact that Mr. Boiko failed to comply in good faith with this

Court's clear mandate ordering him to expedite his efforts to find new counsel, despite my firm's

efforts to facilitate this transition, I respectfully request to be relieved as Mr. Boiko's counsel in

this matter.

               I, Arkady Bukh, hereby certify that the information contained herein is accurate

and true to the best of my knowledge and belief. I understand that if any statement made by me is

willfully false, I am subject to punishment.

Dated: March 30, 2021                                         Respectfully Submitted,

                                                              /s/ Arkady Bukh

                                                              ___________________________
                                                              Counsel for the Defendant
                                                              Bukh Law Firm, PLLC
                                                              1123 Avenue Z
                                                              Brooklyn, NY11235


cc:     All ECF Registered Counsel of Record, Mr. Boiko by email
